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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

RASUL MUHAMMAD,                                    )
                                                   )
              Plaintiff,                           )
                                                   )       No. 19-cv-8328
              v.                                   )
                                                   )       Judge Robert M. Dow, Jr.
BIJORA, INC.,                                      )       Magistrate Judge M. David Weisman
                                                   )
              Defendant.                           )

                           NOTICE OF VOLUNTARY DISMISSAL

       NOW COMES the Plaintiff, RASUL MUHAMMAD, by and through his undersigned

attorney, and pursuant to Fed R. Civ. Proc. 41(a)(1)(i), hereby gives notice that he voluntarily

dismisses this action against Defendant, BIJORA, INC. without prejudice and without costs.

                                            Respectfully submitted,

                                            RASUL MUHAMMAD

                                            s/ R. Joseph Kramer
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